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                                          EXHIBIT C

                                  ProDosed Asbestos Settlement




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                                                                                                                                Exhibit 99.2


                                                        w. R. GRACE & CO., et al.
                                                         CASE NO. 01-1139 (JFK)

                                                    TERM SHEET FOR RESOLUTION OF
                                                   ASBESTOS PERSONAL IN.rRY CLAIMS

           This Term Sheet sets forth certain of       the pnncipal terms and conditions under which the Debtors, the Offcial Equity Security
 Committee, the Offcial Committee of           Personal Injury Claimants ("ACC") and the Future Claimants Representative ("FCR") in the
 above-captioned Chapter 11 cases are prepared to file a plan of reorganization ("Plan") as co-proponents providing for the resolution
 of all asbestos personal injury claims and liabilties, including without limitation all asbestos personal injury claims pending at the
 filing date of the Chapter 11 cases and those arising subsequent thereto (collectively, "Asbestos PI Claims"). This Term Sheet also
 sets forth the proposed treatment of other key classes of claims asserted in the Chapter i 1 cases. This Term Sheet has been produced
 for settlement purposes only and is subject to the provisions of       Rule 408 ofthe Federal Rules of Evidence.


 I. Treatment of Claims



A. Asbestos PI Trust



All Asbestos PI Claims wiJ be channeled to a trst (the "Asbestos PI Trust") that is established in accordance with Section 524(g) of
the United States Bankrptcy Code. The Asbestos PI Trust wil pay claims from trust assets in accordance with a trst agreement and
trust distribution procedures established by the ACC and FCR in connection with the Plan.



 1. Funding of Asbestos PI Trust at Emergence. On the Effective Date of the Plan, the Asbestos PI Trust shall
receive the following, each of which shall be a condition to the Plan becoming effective:



a. Cash Pavment: $250 milion, plus, if the Effective Date occurs after December 31, 2008, interest from January 1,
2009 to the Effective Date accrued at the same rate applicable to Grace's senior debt.



b. Insurance: the assignment by W. R. Grace & CO.-Conn. ("Grace") and all of its affliates to the Asbestos PI Trust,
of all insurance policies and all insurance proceeds available for payment of Asbestos PI Claims, effective as of the
Effective Date, including without limitation:



i. Any such proceeds from the date hereof of all settlements with insurance companies, and all interest accrued
thereon;




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 ii. Any proceeds of the settlement with Equitas held in escrow with all interest accrued thereon;




 111. Any proceeds of all settlements with all insurance companies under coverage in place agreements or installment
 payment arrangements where payment has not yet occurred;



 iv. Assignment of and the right to recover on all outstanding insurance policies potentially applicable to personal
 injury claimants; and



 v. The nght to recover from all insolvent insurance estates as to which Grace or its affliates has made a claim and
 the proceeds of all payments received by Grace or its affliates from those insolvent estates after the date hereof, and all
 interest accrued thereon.


Provided however that Grace is in the process of examining its policies and the foregoing wiJ not affect Grace's separate coverages, if
any, for losses not arising from asbestos personal injury claims.



The ACC and FCR (or, after the Effective Date, the Asbestos PI Trust) shall control (and Grace shall cooperate in connection with)
any negotiations or legal proceedings related to the underlying policies or settlement agreements applicable to Asbestos PI Claims.



c. Warrant: a warrant for 10 millon shares of W. R. Grace & Co. ("Parent" common stock, exercisable at $17 per
share, and expiring one year after the Effective Date.



d. Cryovac. Inc. Payment: The consideration contemplated by the Sealed Air Settlement Agreement.




e. Fresenius Medical Care Payment: The proceeds of the payment contemplated by the Fresenius Settlement
Agreement.



2. Deferred Payment Obligations: Grace shall make additional payments to the Asbestos PI Trust over a 15 year
period as follows: five annual payments of $110 millon commencing on January 2, 2019; and 10 annual payments of
$100 milion commencing on January 2,2024. Such payment obligations shall be subordinate to any bank debt or bonds
outstanding and shall be guaranteed by Parent or any successor ultimate parent entity of Grace. Such guaranty shall be
secured by an obligation of Parent to issue to the Asbestos PI Trust, in the event an additional payment is not made, the
number of shares of Parent common stock which, when



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 added to the number of shares of common stock issued and outstanding as of               the Effective Date, shall constitute 50.1 % of the voting
 shares of    Parent as of   the Effective Date (such number of       shares shall be equitably adjusted for stock splits, stock dividends,
 recapitalizations, corporate reorganizations or changes in control of             Parent afer the Effective Date).




 B. Other Classes



 1.          Administrative Claims: 100% of allowed amount in cash.


 2. Priority Tax Claims: 100% of allowed amount in cash.




 3. Priority Non-Tax Claims: 100% of allowed amount in cash.




 4.          Secured Claims: 100% of allowed amount either in cash or by reinstatement.



5. Unsecured Employee Claims (post-retirement health and special pension): 100% of allowed amount by
reinstatement.


6. Workers Compensation Claims: 100% by reinstatement.



7. AIJowed General Unsecured Claims: 100% of allowed amount plus post-petition interest as follows: (i) for
holders of pre-petition bank credit facilties, post-petition interest at the rate of 6.09% from the filing date through
December 31, 2005 and thereafter at floating prime, in each case compounded quarterly; and (ii) for all other unsecured
claims, interest at 4.19%, compounded annually, or if pursuant to an existing contract, interest at the non-default contract
rate.



8. AIJowed Environmental Claims: 100% of allowed amount in cash.




9. Traditional Asbestos Propert Damage Claims: 100% of allowed amount in cash for settled claims. The Plan
shall set forth procedures for the allowance of all Asbestos PD Claims that are disputed as of the Effective Date.



10. ZAI Claims: Unless the Plan Proponents agree otherwise as to the treatment of ZAI Claims, the court shall
estimate, for purposes of allowance and distribution, any liabilty on account of ZAI Claims prior to or in connection with
the confirmation of the Plan. ZAI Claims shall be paid 100% of their allowed amount up to the amount of the court's
estimate.
II. Channeling Injunctions. The Plan shall contain injunctions under Sections 524(g) and Section IOS(a) of                       the Banptcy
             Code to protect the Debtors, Ciyovac, Sealed Air, Fresenius, their affliates, offcers, directors and employees, and other
             paries in interest and certain insurers. The Plan shall also contain such provisions, injunctions and releases

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           (i) as are necessai to comply with the terms of the Sealed Air Settlement Agreement and the Fresenius Settlement
           Agreement; and (ii) to the full extent permitted by law, to indemnifY, and release all of Grace's offcers, directors, employees
           and professionals, and the members of all offcial committees, the FCR and their professionals, from any liabilty on account
           of claims against Grace, or arising in or in connection with these Chapter 11 cases. The foregoing injunctions,
           indemnifications and releases shall be at least as extensive as, and consistent with, the injunctions, indemn.ifications and
           releases provided for under Grace's Amended Plan currently fied in the Chapter 11 Cases to the extent such latter
           injunctions, indemnifications and releases are not inconsistent with this Term Sheet.

 III. Resolution of Outstanding Issues. The paries agree to cooperate in seeking a resolution of outstanding issues material to
           or not otherwise resolved in connection with the confirmation of a plan of reorganization.

 IV. Binding Effect. This Term Sheet has been approved by all necessai corporate or organizational action of                          the Board of
           Directors of    Parent and Grace, the ACC, the FCR and the Equity Committee, and shall be binding upon the pares and each
           oftheir respective successors and assigns to the fullest extent permitted by applicable law. The parties shall use their best
           efforts to incorporate the terms of     this Term Sheet into a mutually agreeable plan of           reorganization to be fied with the
           Bankruptcy Court as soon as possible.


 V. Confidentiality.

 The paries shall treat all negotiations regarding this Term Sheet as confidentiaL. Neither the contents nor the existence ofthis Term
 Sheet shall be disclosed by any par, either orally or in writing, except to its directors, offcers, employees, legal counsel, financial
 advisors, accountants and clients on a confidential basis until the Debtors have issued a press release anouncing the terms and
 conditions contained herein. Notwthstanding the foregoing, the parties agree that this Term Sheet or the terms of     this Term Sheet
 may be disclosed to the Offcial Committee of           Unsecured Creditors and the Offcial Committee of Asbestos Propert Damage
 Claimants. Grace wil provide counsel to the A CC and counsel to the FCR an opportnity to review and comment on any press
 release relating to this Term Sheet prior to its issuance.



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 AGREED TO AND ACCEPTED BY:
 Dated: April 6, 2008

 THE DEBTORS: .. _' _
 W. R. GRACE & CO., on behalf of itself and its subsidiaries and affliates that are Debtors in
 the Chapter i 1 cases

 By: Isl Fred Festa
 Name: Fred Festa
 Title: Chairman, President and Chief         Executive Offcer


 THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS


 By: Isl R. Ted Weschler
 Name: R. Ted Weschler
 Title: Chair ofthe Committee

 THE OFFICIAL COMMITTEE OF ASBESTOS PERSONAL IN.rRY CLAIMANTS:
 CAPLIN & DRYSDALE, CHARTERED, on behalf of and in its capacity as counsel to the ACC


By: Isl Elihu Inselbuch
Name: Elihu Inselbuch

THE FUTURE CLAIMANTS REPRESENTATIVE:
ORRCK, HERRGTON & SUTCLIFFE LLP, on behalf of and in its capacity as counsel to the FCR


By: IS! Roger Franel
Name: Roger Frankel

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